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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0051V
                                        UNPUBLISHED


 JANET JACKSON,                                             Chief Special Master Corcoran

                        Petitioner,                         Filed: October 4, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On January 15, 2020, Janet Jackson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) from the administration of an influenza (“flu”) vaccination on
February 6, 2018. Petition at ¶1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On September 30, 2021, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent’s position is “that petitioner has satisfied the criteria
set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Interpretation (“QAI”). That is, petitioner had no relevant history of pain, inflammation, or
dysfunction in her right shoulder; her pain and reduced range of motion occurred within
48 hours of receipt of an intramuscular vaccination; her symptoms were limited to the
shoulder in which the vaccine was administered; and no other condition or abnormality
was identified to explain her symptoms. Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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